                   EXHIBIT A
    (Wilson County Case No. 19-CVS-965)




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                                             WILSON                                  ISSUE/ORDER DETAILS                              **CAUTION COUNTY**
                   today.
                                                PLDG TYPE CLK DT BY PARTY                              AGAINST PARTY                 CLK DT R       X BK PG/
               Learn More.                                                                                                                            ABS NUM
                                             _ COMP CNTR 062519 BARTON COLLEGE                         ARANARK MGT SERVICE
                                             CASE INITIATION CLOCK DT: 062519                          JURY REQUESTED: Y (Y,N)


                                             ELIGIBLE FOR MEDIATED SETTLEMENT CONFERENCE: N (Y,N)




                                             CALENDAR DATE: ______              TRIAL TIME: ____ _ (A,P,M)
                                             LOCATION: ____
                                             NOTES: ____________________________________________________________




                                             PRESIDING OFFICIAL ID: _______
                                             PRESIDING OFFICIAL NAME:
                                             FILE NUM: 19 CVS 000965
                                             NAME                                                  SERVICE TYPE                         ISSUED         SRVED/
                                              REASON RETURNED                                       SERVICE VEHICLE                   DATE   HOUR ABS#
                                             ARANARK MGT SERVICES LTD PTNSHP                       REG SUMMONS                        062519 10AM 062619
                                              SERVED - PERSONAL                                        CERTIFIED MAIL
                                             FILE NUM: 19 CVS 000965
                                             PLEADING TYPE                            DATE
                                                PARTY NAME                                         RESPONSE TYPE                            RESPONSE DATE




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    STATE OF NORTH CAROLINA                                                                                                             ? C les
                                                                                                                                         1
                                                                                                                                                            ctu5
                                    Wilson      County                                                            in The General Court Of Justice
                                                                                                               • District El Superior Court Division
Name Of Plaintiff
Barton College
Address
 do William E. Wheeler, 1912 Eastehester Dr., Suite 400                                                     CIVIL SUMMONS
City. State. zip
High Point                                                    NC           27265                   0 ALIAS AND PLUR1ES SUMMONS
                                      VERSUS                                                                              G.S. 1A-1. Rules 3. 4
Name Of Defendant(s)                                                                 Date Original Summons Issued
Aramark Management Services Limited Partnership
                                                                                     Tim(s) Subsequent Summons(es) issued

    To Each Of The Defendant(s) Named Below:
Name And Address Of Defendant 1                                                      Name And Address Of Defendant 2
Aramark Management Services Limited Partnership
do CT Corporation Systems, Registered Agent
160 Mine Lake Court
Suite 200
Raleigh, North Carolina 27615
                                                                                                                                                                ,


_
    A Civil Action Has Been Commenced Against You!

    You are notified to appear and answer the complaint of the plaintiff as follows:
    1. Serve a copy of your written answer to the complaint upon the plaintiff or plaintiff's attorney within thirty (30) days
       after you have been served. You may serve your answer by delivering a copy to the plaintiff or by mailing it to the
       plaintiff's last known address, and

    2. File the original of the written answer with the Clerk of Superior Court of the county named above.

    If you fail to answer the complaint, the plaintiff will apply to the Court for the relief demanded in the complaint.
Name And Address Of-Pisreiffis Attorney (If None. Address Of 'Iairitill)             Date Issued                       Time                                         -
William E. Wheeler
Wyatt Early Harris & Wheeler, LLP
                                                                                       U '2 5. 1 q
                                                                                     Signature                            .1    D:-               VAm       0 Pm

1912 Eastchester Dr., Suite 400
High Point, NC 27265
                                                                                            Deputy CSC      0 Assistant CSC             0 Clerk Of Superior Court
                                                                                     Date Of Endorsement             Time
    0 ENDORSEMENT                                                                                                                                 0 AM 0 PM
       This Summons was originally issued on the date                                Signature
       indicated above and returned not served. At the
       request of the plaintiff, the time within which
       this Summons must be served is extended sixty (60)                              0    Deputy CSC      0Assistant CSC              0 Clerk Of Superior Court
       days.


    NOTE TO PARTIES: Many counties have MANDATORY ARBITRATION programs in which most cases where the amount in controversy is
                              $15,000 or less are heard by an arbitrator before a trial. The parties will be notified if this case is assigned for
                              mandatory arbitration, and, if so, what procedure is to be followed.

    AOC-CV-100, Rev. 10/01
                                                                                   (oven
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                   6            J
                                                      L                 RETURN OF SERVICE                                I
    /   certify that this Summons and a copy of the complaint were received and served as follows:
                                                                             DEFENDANT 1
Date Served                                 Time Served                                 Name Or Defendant
                                                               DAM 0 PM
    CI    By delivering to the defendant named above a copy of the summons and complaint.

    0     By leaving a copy of the summons and complaint at the dwelling house or usual place of abode of the defendant named
          above with a person of suitable age and discretion then residing therein.

    0     As the defendant is a corporation, service was effected by delivering a copy of the sumMons and complaint to the
          person named below.
Name And Address Of Person With Whom Copies Left (if corperatiorL give Oda of person copies left with)

                                                                                                                             _
                                                                                                                                  -
    0     Other manner of service (specify)




    CI Defendant WAS NOT served for the following reason:



                                                                             DEFENDANT 2
Date Served                                 Time Served                                 Name Of Derendant
                                                               DAM 0 PM
    CI    By delivering to the defendant named above a copy of the summons and complaint.

    0     By leaving a copy of the summons and complaint at the dwelling house or usual place of abode of the defendant named
          above with a person of suitable age and discretion then residing therein.

    0     As the defendant is a corporation, service was effected by delivering a copy of the summons and complaint to the
          person named below.
Name And Address Of Person With Wham Copies Left Of corporation, give tills or person copies left with)




    0     Other manner of service (specify)



    0     Defendant WAS NOT served for the following reason.



Service Fee Paid                                                                       Signatum Of Deputy Sheriff Making Return
$
Date Received                                                                          Name Of Sheriff (Typo Or Print)


Date or Rearm                                                                          Coum or sheriff




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